812 F.2d 1402Unpublished Disposition
    NOTICE: Fourth Circuit I.O.P. 36.6 states that citation of unpublished dispositions is disfavored except for establishing res judicata, estoppel, or the law of the case and requires service of copies of cited unpublished dispositions of the Fourth Circuit.Arthur Ellsworth VEACH, Plaintiff-Appellant,v.Gary L. BASS, James Radcliff, Harold Catron, W.P. Terry,Chester Spruill;  James Onorich, Defendants-Appellees.
    No. 86-6648.
    United States Court of Appeals, Fourth Circuit.
    Submitted July 29, 1986.Decided Feb. 10, 1987
    
      Mark Ralph Davis, Office of the Attorney General, for appellees.
      Before RUSSELL, SPROUSE and WILKINSON, Circuit Judges.
      PER CURIAM:
    
    
      1
      A review of the record and the district court's opinion discloses that this appeal from its order denying relief under 42 U.S.C. Sec. 1983 is without merit.  Because the dispositive issues recently have been decided authoritatively, we dispense with oral argument and affirm the judgment below on the reasoning of the district court.  Veach v. Bass, C/A No. 85-935-AM (E.D.Va., June 11, 1986).
    
    
      2
      AFFIRMED.
    
    